                                 Case 1:11-cv-03999-JEC Document 2 Filed 12/27/11 Page 1tiLED
                                                                                          of 2 !N CLERK'S OFFICE
                                                                                                                                        U.S,I)   r.   ""~"1t'l

1.<>,,<11 Fonn   44{)   (12109) Swnmons in II. Civil Action (Page 2)




                                                               PROOF OF SERVICE                                  JAM,ES N.
                                (This section ItUlSt beftled with the COllrillnJess exempted by Fed. R. Civ. P. 4fft)

                 This summons for (name of individual and title, if any)
 was received by me on (time)                       I '). ,... \'"'\ _   I \


             o       I personally served the summons on the individual at (place)
                                                                                                   ---------------------------------
                                                                                                   on (dale)            ; or
            --------------------------------------------                              --------------
             o I left the summons at the individual's residence or usual place of abode with (name)
                                                                                                                                  ----------------
                                                                               , a person of suitable age and discretion who resides there,
            ------------------------------
             on (dale)            , and mailed a copy to the individual's last known address; or


            ~        I served the      summo~ on (name a/individual) :\(0.-+~ ff\~                                                               ,who is
           I~ignated by law to accept service of process on behalf of(ll£l1O: oforganization)                                6'
                     ~ ~ ~&~'i'                                            \l ~           .V\      on (dale)   ' 2.- 1\\---'-'---;o - r - - - ­
             o       I returned the summons unexecuted because
                                                                                            6
                                                                                     ----------------------------------- ; or
                 o   Other (specify):




                 My fees are $                                 for travel and $                     for services, for a total of $


                 I declare under penalty of pexjwy that this information is true.


 Date:




                                                                                                          Server's address


 Additional information regarding attempted service, etc:
                       Case 1:11-cv-03999-JEC Document 2 Filed 12/27/11 Page 2 of 2

AD 440 (Rev. 12109) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                   }JDr4t.~ b,'sJ.r: cJ- Of '"UTfJ let
                                                        ,A.f/o.J.a. b; \I; 5,:cY\                    RECEIVED
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    6;/ly WaG J-s            Plaintiff
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                                v.                                )       Civil Action No.           CIVIL PROCESS· BiBB COUNTY
                                                                  )
   ~lnl £.d(<>.Js1:e ~                                            )
                                                                  )       1 : 11- CV-. 399 9- JE G                           .'
             Defendan!


                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
        (J~~r ~{low'~f C),";f)';ttn Ikcd~y
        g~, 0 lkuJk:'rtS"; II-G ICo t.{d
         t4ctC D1\J        (,'~; c:t            3{.21,

         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal. Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
              BIll WDods
              p, DIY B~
                      f ;?
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                           f "'il S­
                                 ,
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                                     fo.e.b~' a.
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                                                     .
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court

                                                                            JAMES N. HATrEN
                                                                             CLERK OF COURT


Date:   _/L..L/-I-/.:l_1---L-1---:."_ _
                                                                                         ~ ;;';o/C'fl,.k or Deputy Clerk
